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Attorney for Creditor: Bank of Guam
UNITED STATES DISTRICT COURT

FOR THE NORTHER MARIANA ISLANDS
BANKRUPTCY DIVISION

In re: CASE NO. 1:21-bk-00002

Julie Ann Palacios Guerrero
Judge: Hon. RAMONA V.
Debtor(s). MANGLONA

 

 

NOTICE OF ENTRY OF APPEARANCE

PLEASE TAKE NOTICE THAT counsel, Robert T. Torres, Esq., hereby gives
notice of his entry of appearance in the above captioned Chapter 7 Bankruptcy matter on
behalf of Creditor Bank of Guam.

Counsel requests service of all pleadings and other documents on the undersigned

counsel.
Robert Tenorio Torres

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Case 1:21-bk-00002

Dated: August 23, 2021.

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Respectfully submitted,

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Robert T. Torres, Esq., F-1097
Attorney for CPA

 
